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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
RIVKA LIVNAT, et al.,                     )
                                          )
            Plaintiffs,                   )
                                          )
v.                                        )    Case No. 1:14-cv-00668-CKK
                                          )
THE PALESTINIAN AUTHORITY,                )
                                          )
            Defendant.                    )
                                          )
                                           )

                        DECLARATION OF JEFFREY F. ADDICOTT

I, Jeffrey F. Addicott, declare as follows:

   1.   I am over 18 years of age and competent to make this declaration.

   2.   My business address is Center for Terrorism Law, St. Mary's University School of

Law, One Camino Santa Maria, San Antonio, Texas 78228.

   3.   I currently serve as a full Professor of Law and the Director of the Center for Terrorism

Law at St. Mary’s University School of Law. Previously, I served as an active duty Army officer

in the Judge Advocate General’s Corps for twenty years and spent a quarter of my career as the

senior legal advisor to the United States Army’s Special Forces. I regularly lecture on national

security law and have testified before Congress on a variety of legal issues. I have participated

in more than 4,000 interviews in national and international news media outlets and published

more than 60 books, articles, and monographs on a variety of topics, including the war on terror,

international human rights, and the law of war. A true and accurate copy of my curriculum vitae

is attached as Exhibit 1.
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    4.   Based upon my knowledge and experience in the area of international terrorism, I believe

that the Palestinian Authority (“PA”) – by word and deed – intentionally maintains a policy of

encouraging acts of terrorism against civilian Jews and Israelis in order to influence public

opinion and policy in the United States. Specifically, realizing that the United States places as a

top priority a peaceful resolution of the Israeli-Palestinian conflict, the PA desires to influence

the United States to pressure Israel for greater concessions as the so-called “peace process”

continues. Acts of Palestinian terrorism and violence are designed to assist in the achievement of

this goal.

    5.   Anyone even marginally familiar with the Israeli-Palestinian negotiations over the

territories called the West Bank and Gaza Strip knows that the PA has long been a direct

facilitator of promoting violent acts of terrorism 1 against civilians to influence the outcome of

various negotiations. This pattern of behavior by the PA continues, although the spike in

Palestinian terrorism associated with the Second Intifada (2000-2004) has declined.

    6.   Despite formally renouncing the use of terrorism and reaffirming this commitment as part

of the 1993 Oslo Accords, Palestinian terrorism has continued uninterrupted over the years. A

2012 United States Congressional Research Service Report claims that “since Oslo in 1993,

these groups [Palestinian terror organizations] have engaged in a variety of methods of violence,


1
  See generally John F. Murphy, The Control of International Terrorism, in NATIONAL SECURITY LAW, 458-461
(John Norton Moore & Robert F. Turner eds., 2005). There is no international definition of terrorism. Numerous
attempts have been made over the years to develop an international definition for the term. The best came from
former Secretary General of the United Nations, Kofi Annan. See Serge Schmemann, Man in the News: UN's
Candid Reshaper Kofi Atta Annan, N. Y. TIMES (Oct. 13, 2001),
http://www.nytimes.com/2001/10/13/international/13ANNA.html. Echoing the Geneva Conventions’ definition of a
war crime, in 2005 Annan offered the following definition of terrorism to the General Assembly:

         [A]ny action constitutes terrorism if it is intended to cause death or serious bodily harm to
         civilians or non-combatants, with the purpose of intimidating a population or compelling a
         government or an international organization to do or abstain from doing any act.


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killing approximately 1,350 Israelis (over 900 civilians – including Jewish settlers in the

Palestinian territories – and 450 security force personnel).” 2 The report goes on to say that

“although damage is difficult to measure qualitatively, suicide bombings have constituted a

fearsome means of attack claiming approximately 700 Israeli lives (mostly civilians within Israel

proper).” 3         Most of these attacks and fatalities occurred during or just before the Second

Intifada spanning the years of 2000-2005. 4

      7.    Given that the United States has always been a close ally of Israel and the primary broker

in seeking a peaceful resolution to the conflicting claims between the two parties, it is

fundamentally obvious that a primary target of influence for the PA in this process is the United

States. This fact is explored in what one international expert labeled the “counter-terrorism

puzzle.” 5

      8.         While the fact that the PA seeks to influence United States policy in its favor is self-

evident, the issue of encouragement and support by the PA for acts of terror as a component of

their strategy vis a vis the United States seems counterintuitive. Nevertheless, when one

considers the fact that the regime that engages in terrorism 6 is always quick to deny any


2
    Jim Zanotti, CONG. RESEARCH SERV., RS34074, THE PALESTINIANS: BACKGROUND AND U.S. RELATIONS (2012).
3
    Id. at 12.
4
    Id.
5
    See generally, Boaz Ganor, THE COUNTER-TERRORISM PUZZLE (2005).
6
  In essence this is the definition of State-sponsored terrorism, where a regime “directly but secretly uses its own
resources to sponsor acts of terrorism against another country.” In turn, State-supported terrorism refers to the
practice of a regime providing resources or finances to a terrorist group for the purpose of training, logistics, or
execution of terror attacks. Both categories bear direct legal responsibility for the resulting acts of murder and
property damage. For a concise definition of a totalitarian regime that employs the tactic of terrorism, see John
Norton Moore & Robert F. Turner, NATIONAL SECURITY LAW 77 (2d ed. 2005). Director of the Center for National
Security Law, Professor John Norton Moore, argues that totalitarian regimes are considerably more likely to resort
to aggressive violence than democracies. Professor Moore terms this phenomenon the “radical regime” syndrome:

            A radical totalitarian regime … seems to blend together a mixture of a failing centrally planned
            economy, severe limitations on economic freedom, a one-party political system, an absence of an

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connection with the act of terror, 7 it is understood that the regime that uses terror as a tactic

almost always employs it secretly; realizing that to do otherwise would bring down immediate

condemnation. Naturally, since the PA wishes to avoid responsibility, they deny accountability.

Instead, the use of terror is conducted through surrogates – either by means of individuals or

terror groups like the Al-Aqsa Martyrs Brigades 8 (this group emerged in 2000 at the time of the

Second Intifada and has operated with horrific violence against civilians 9). Again, the goal of

the PA is to use selected acts of violence against civilians to force both Israel and its ally the

United States to bend to Palestinian demands in “peace” talks. 10

      9.   In terms of promoting democracy and peaceful coexistence in the Middle East, the United

States has always viewed the development of a just and peaceful settlement between Israel and

Palestine as of utmost importance. 11 Unfortunately, this goal has yet to be achieved. While

there exists no one answer to the failure of the “peace process” between Israel and Palestine, it is

certain that the direct cause for many of the lost opportunities for peace and stability must be




           independent judiciary, a police state with minimal human rights and political freedoms at home, a
           denial of the right to emigrate, heavy involvement of the military in political leadership, a large
           percentage of the GNP devoted to the military sector, a high percentage of the population in the
           military, leaders strongly motivated by an ideology of true beliefs including willingness to use
           force, aggressively anti-Western and antidemocratic in behavior, and selective support for wars of
           national liberation, terrorism, and disinformation against Western or democratic interests.

7
  See Jeffrey Addicott, American Punitive Damages vs. Compensatory Damages in Promoting Enforcement in
Democratic Nations of Civil Judgments to Deter State-Sponsors of Terrorism, 5 UNIV. OF MASS. ROUNDTABLE
SYMPOSIUM L. J. 192 (2010) (discussing the legal hurdles in obtaining civil judgments).
8
  Id. See also List of Foreign Terrorist Organizations, U.S. DEP’T OF STATE (Sept. 28, 2012),
http://www.state.gov/j/ct/rls/other/des/123085.htm. The Al-Aqsa Martyrs Brigades was designated by the U.S. State
Department as a foreign terrorist organization (FTO) in 2002.
9
  Aaron Pina, CONG. RESEARCH SERV., RS22395, FATAH AND HAMAS: THE NEW PALESTINIAN FACTIONAL REALITY
(2006).
10
     Id.
11
     Efraim Karsh, ARAFAT’S WAR 39 (2003).

                                                           4
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placed directly at the feet of the PA and its leadership – Yasser Arafat 12 and the current leader of

the PA, President Mahmoud Abbas, who also serves as the Chairman of the Palestinian

Liberation Organization (PLO). 13

     10. The United States has always been an integral part of the “peace” process. Thus, the

threat of violence or the use of violence is meant to influence the United States to in turn

pressure Israel. The PA knows that the United States will go to any lengths to achieve “peace”

and that the United States is perhaps the only “friendly” ally Israel has in the world. Indeed,

every American president has sought the goal of peace in Palestine. By keeping terrorism on the

plate, the PA view is that the United States will continue to exert greater pressure on Israel with

little cost to the PA. Indeed, from the perspective of the PA, if there was no terrorism, then the

emphasis forcing Israeli compromises would quickly fade. The red thread that is consistent is

the threat or use of terrorism by the PA:

               a. The Oslo Accords (1993) - PA agrees to cooperate with Israel to combat terrorism

and renounces “terrorism.”

               b. Gaza Jericho Agreement (1994) - PA again agrees that Palestinians would act to

prevent terror against Israelis in the areas under their control. In exchange, 5,000 Palestinian

detainees are released.

               c. Oslo II (1995) - PA agrees to continue on with the Oslo Accords and its promise

to combat terrorism. In exchange, Israeli forces withdraw from the six largest cities in the West

Bank.


12
   In the Words of Arafat, N.Y. TIMES, Aug. 4, 1997. “We know only one word: jihad, jihad, jihad. When we
stopped the intifada, we did not stop the jihad for the establishment of a Palestinian State whose capital is Jerusalem.
And we are now entering the phase of the great jihad prior to the establishment of an independent Palestinian State
whose capital is Jerusalem.” Id.
13
     Rashid Hamid, What is the PLO?, 4 J. PALESTINIAN STUD. 4, 99 (1975).

                                                           5
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             d. Hebron Accord (1997) - Terrorism continues but Israel still transfers control of

the West Bank City of Hebron.

             e. Wye River Memorandum (1998) - In the face of increased Palestinian violence

and terrorism, attempts are made to make good on the promises made in Oslo. Again, the PA

agrees to combat terrorism, arrest those responsible and collect weapons and explosives. In

exchange, Israel agrees to pull back from an additional 13% of the West Bank and allow an

airport to be built in Gaza.

             f. The Camp David Summit (2000) - Yet another failed attempt to initiate peace by

the Clinton White House. The PA refuses to sign, makes no counter-offer and launches a

massive Second Intifada of terrorism that lasts for almost five years.

             g. The Taba Talks (2001) - Both parties claim significant progress towards an

agreement but no agreement is met. The Palestinian Second Intifada cycle of violence

escalates. 14

             h. The Roadmap Peace Plan (2003-current) - Calls for Israel to stop construction in

the West Bank and demands Israel withdraw from areas it reentered in 2000.

             i. Israeli Unilateral Concessions (2005) - Israel withdraws from Gaza and suffers

over 8,000 rocket attacks from Palestinians.

     11. The above outline reveals that there are three constants in the list of peace talks –

protracted Palestinian terrorism, Israeli concessions fueled in degree by United States pressure,

and a lack of peace.

     12. In this context, the PA has long promoted the use of terrorism against Jews and Israelis as

part of an overall strategy to cause the United States to demand greater concessions from the

14
   Shattered Dreams of Peace: The Road from Oslo – The Negotiations, PBS FRONTLINE (Jun. 27, 2002),
http://www.pbs.org/wgbh/pages/frontline/shows/oslo/negotiations.

                                                      6
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State of Israel. Michele Bachmann, former member of the United States Congress, is all too

familiar with the set pattern where “PA intransigence and extremism” 15 occurs and the United

States exerts all its pressure on Israel for concessions. In a 2013 article published in the

Jerusalem Post, Congresswoman Bachmann noted how the Obama Administration had pressured

Israel in 2013 to free jailed Palestinian terrorists in order to get the PA to return to the

negotiating table. 16

     13. The United States Congress is fully aware of the use of terror by the PA to influence

American policy. In fact, there are numerous findings by the United States Congress in

concurrent resolutions and bills that directly link the PA to terrorism and the murder of civilians.

Gathering all the pertinent facts, the United States Congress specifically found that the PA was

responsible for the intentional murder of hundreds of innocent civilians and the wounding of

many more. 17

     14. In December 2009 Palestinian President Abbas made a veiled threat to the Obama

Administration that as long as he is in office he “will not allow anybody to start a new

intifada.” 18 Instead of condemning Abbas, the Obama Administration continues to pressure

Israel to negotiate. Of course, Abbas remains free to simply allow smaller acts of terrorism as a

part of his strategy to influence the Americans to press Israel for more concessions to Palestinian

interests. In a speech (chronicled by the U.S. Congressional Research Service) to the Fatah

General Congress on August 4, 2009, Abbas openly stated: “Although peace is our choice, we



15
   Michele Bachmann, US Pressure and Demands on Israel to Make Concessions Must Stop, JERUSALEM POST, Nov.
4, 2013.
16
   Id.
17
    H.R. 4693, 107th Cong. (2002), available at http://www.gpo.gov/fdsys/pkg/BILLS-107hr4693ih/pdf/BILLS-
107hr4693ih.pdf.
18
   See Carol Migdalovitz, CONG. RESEARCH SERV., RL33530, ISRAELI-ARAB NEGOTIATIONS: BACKGROUND,
CONFLICTS, AND U.S. POLICY, 2 (2009).

                                                    7
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reserve the right to resistance ….” 19 In a 2009 interview in Amman, Jordan, Abbas hinted at

more Palestinian terror attacks and pressed for the United States and President Obama to “act

more aggressively to bring Israel back to the negotiating table.” 20

     15. In February 2014, when interviewed about the implications for Israel should current

peace negotiations fail, 21 American Secretary of State, John Kerry observed two facts: (1) there

would be greater Palestinian terror against Israel and (2) American sentiment would turn against

Israel. Kerry stated: “[Y]ou see for Israel there’s an increasing de-legitimization campaign [in

the United States] that has been building up. People are very sensitive to it. There are talks of

boycotts and other kinds of things.” 22 This attitude is exactly what the PA desires.

     16. American administrative reports produced to evaluate the PA’s compliance with its

commitments for peace consistently find that factions associated with the PA encourage or

participate in illegal violence against Jews and Israelis. 23 For instance, in September 2000, after

over seven years of on again off again “peace-talks” with Israel, 24 Yasser Arafat intentionally

choose to turn his back on President Bill Clinton’s brokered negotiations at Camp David –

diplomatic initiatives that were designed to help the Palestinians and Israelis achieve a lasting


19
   Id. at 32.
20
   Charles Levinson, Abbas Says Palestinians Won’t Rise Up, for Now, MIDDLE EAST NEWS, Dec. 23, 2009.
21
   See Lesley Wroughton & Jeffrey Heller, Kerry Returns to Middle East to Push Flailing Peace Talks, REUTERS,
Mar. 31, 2014.
22
   Laurence J. Haas, John Kerry’s Comments on Israel-Palestine Encapsulate U.S. Foreign Policy, INTERNATIONAL
BUSINESS TIMES, Feb. 6, 2014.
23
    Kenneth Katzman, CONG. RESEARCH SERV., CRS RL31119, TERRORISM: NEAR EASTERN GROUPS AND STATE
SPONSORS 23 (2002).
24
   United Nations Security Council Resolution 242, adopted on November 22, 1967, is the central document for
establishing a “just and lasting peace.” Resolution 242 was adopted five months after the Six-Day War in 1967
where Israel defended itself against the armies of Jordan, Syria, and Egypt and defeated all three. Israel gained
nearly 68,176 square kilometers of territory, but has since given back over 90% of those lands. Resolution 242
allows Israel to administer the territories it occupied in 1967 until a “just and lasting peace” is established. It also
recognizes Israel’s need for “secure and recognized borders.” It is important to note that Resolution 242 only calls
for Israel to withdraw from territories consistent with its need for “secure and recognized borders.” The Resolution
does not call on Israel to withdraw from all the territories. Indeed, considering that Israel has always acted in
defense when attacked with aggressive violence in 1948, 1967, and 1972, the nation of Israel has a far superior title
to these lands than Jordan and Egypt. The Palestinians have never had a nation.

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